Case 2:05-Cv-02448-.]PI\/|-tmp Document 4 Filed 08/31/05 Page 1 of 3 Page|D 1

 

 

 

 

 

IWEI}BY
IN THE UNITED STATES DISTRICT COURT '““- _.. U.C,
FOR THE WESTERN DIS'I'RICT OF TENNESSEE 05
WESTERN DIVISION AUGSI PM 3:56
CLE THO.$`€.‘T !_; C/}ELU
HK L)g_'i~f§‘;g,%
X il§@ ;_",'_C i!k;lditj_;:';§;a,;}(`l;/`QUHT
TONY BRYANT, X “‘fD
I
Plaintiff, x
X
vs. X NO. 05-2448-Ml/P
X
Jo ANNE BARNHART, X
COMMISSIONER OF SOCIAL SECURITY,X
X
Defendant. X
X
ORDER TRANSFERRING CASE PURSUANT 'I'O 28 U.S.C. § 1406(<':1)
Plaintiff Tony Bryant, Bureau Prisons inmate
registration number 19189-076, an inmate the Federal

Correctional Institution in Forrest City, Arkansas,

complaint pursuant to 42 U.S.C.

§ 405(9)

on June 17,

filed a pro §§

2005,

accompanied by an application to proceed in forma `pauperis and a

certified copy of his inmate trust fund account statement. Because

this case
addressed

defendant

Pursuant to 42 U.S.C.

is being transferred,
by the transferee court.

as Jo Anne Barnhart,

§ 405(9),

the filing fee issue should be
The Clerk shall record the

Commissioner of Social Security.

a civil action “shall be

brought in the district court of the United States for the judicial

district in which the plaintiff resides, or has his principal place

of business,

or,

if he does not reside or have his principal place

of business Within any such judicial district, in the United States

District Court for the District of Columbia.”

'sd nnthe:jocketsheet&nconwphanc@

-05’

Th`\s document ama
Witn Flule 58 and/or 79(3) FHCF’ on ’

The fact that the

Case 2:05-Cv-02448-.]PI\/|-tmp Document 4 Filed 08/31/05 Page 2 of 3 Page|D 2

plaintiff resided in this district prior to his incarceration, and
that he desires to return to this district after his release from
prison, which is not imminent, have no bearing on the fact that he
currently resides in Forrest City, Arkansas, which is outside the
Western District of Tennessee. Accordingly, the complaint asserts
no basis for venue in this district.
Twenty-eight U.S.C. § l406(a) states:

The district court of a district in which is filed a case

laying venue in the wrong division or district shall

dismiss, or if it be in the interest of justice, transfer

such case to any district or division in which it could

have been brought.
Forrest City is in Saint Francis County, which is in the Eastern
Division of the Eastern District of Arkansas. 28 U.S.C. § 83(a)(l).
Therefore, it is hereby ORDERED, pursuant to 28 U.S.C. § l406(a),
that this case is TRANSFERRED, forthwith, to the Eastern District

of Arkansas, Eastern Division.

IT rs so oRDERED this L-§i day of August, 2005.

0 M@Q

PHIPPS MCCALLA
I'I‘ED STATES DISTRICT JUDGE

 

DISTRICT C URT - WESTENR DISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02448 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

 

Tony Bryant

Federal Correctional CompleX
Reg. No.

Post Office box 9000

Forrest City, AR 72336

Honorable J on McCalla
US DISTRICT COURT

